Case 2:Ol-cr-OOO71-I\/|V Document 77 Filed 04/27/04 Page 1 of 1

FILED

NlTED STATES D|STHICT COURT
u Lu Cruo¢l union

,|~l¢w
United States District Court

'.~PROB 49
t3-'H‘H

 

 

APR 2 7 2005
U.S. District C` ourt District of New Mexico
c
Waiver of Hearing to Modif_v Conditions C|:EHK

of Probation/Supervised Release or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsel before any

unfavorable change maybe made in my Conditions ofl’robation and Superviscd Rclease or my period of supervision
being extended By "assistance of counsel." l understand that l have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel. l also understand that l have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if l am not able to retain counsel of my own

choosing.

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to the
following modification of my Conditions ol`l’robation and Supervised Release or to the proposed extension of my tcmr

of supervision:

The defendant shall reside at and complete a program at a community corrections center for a period of 90

days, as approved by the probation officer.

Witness w Signed /)/z ‘2(’\ € 5'¢§./\

U.S. Pr£ation Ofl'tcer Probationer or Sut(ervised Relcasee

L¢p\`_\,_\ 'Z 33 1004

Date

/\“l -

